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 11 Counterclaimant TP-Link USA Corporation

 12
                               UNITED STATES DISTRICT COURT
 13                           CENTRAL DISTRICT OF CALIFORNIA
 14                                   WESTERN DIVISION
 15
      THIMES SOLUTIONS INC.,                  CASE NO.: 2:19-cv-10374-SB-E
 16

 17              Plaintiff,                   DISCOVERY MATTER
 18        v.                                 SUPPLEMENTAL DECLARATION
 19                                           OF HEATHER F. AUYANG IN
      TP-LINK USA CORPORATION, and            SUPPORT OF TP-LINK’S MOTION
 20 AUCTION BROTHERS, INC. d/b/a              FOR TERMINATING, OR IN THE
 21 AMAZZIA,                                  ALTERNATIVE ISSUE
                                              SANCTIONS, MOTION TO
 22              Defendants.                  COMPEL RESPONSES TO
 23                                           DISCOVERY, AND REQUEST FOR
                                              MONETARY SANCTIONS
 24

 25                                           Date:      Oct. 14, 2022
                                              Time:      9:30 a.m.
 26                                           Courtroom: 750, 7th Floor
 27
                                              Discovery Cutoff:        Sept. 30, 2022
 28
                                              Pretrial Conference:     Dec. 30, 2022
                                                                     No. 2:19-cv-10374-SB-E
          SUPPLEMENTAL AUYANG DECLARATION ISO TP-LINK USA’S MOTION FOR SANCTIONS
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  1                                          Trial Date:             Jan. 9, 2023
  2
                                             Complaint Filed:       May 29, 2019
  3                                          Am. 5th Am. Com. Filed: May 27, 2022
  4

  5

  6 TP-LINK USA CORPORATION,

  7             Counterclaimant,
  8
          v.
  9
 10 THIMES SOLUTIONS INC.,

 11             Counter-Defendant.
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  1         SUPPLEMENTAL DECLARATION OF HEATHER F. AUYANG
  2        I, Heather F. Auyang, hereby declare and state as follows:
  3        1.     I submit this Supplemental Declaration in support of TP-Link’s Motion
  4 for Terminating, or in the Alternative Issue Sanctions, Motion to Compel Responses to

  5 Discovery, and Request for Monetary Sanctions. I am an attorney admitted to practice

  6 before this Court and am a partner with LTL Attorneys LLP, counsel of record for

  7 Defendant and Counterclaimant TP-Link USA Corporation in the above-captioned

  8 case. I submit this Declaration based upon my personal knowledge, and if called as a

  9 witness could and would testify to the matters set forth.

 10        2.     On 8/31/2022, Thimes served its 195-page privilege log, which Thimes
 11 produced as a PDF and is not in chronological order making it more difficult to review.

 12 Most (if not all) of the entries generically state “Discussion of litigation strategy, case

 13 developments, and/or factual issues relating to litigation.” Attached hereto as Exhibit

 14 A are true and correct copies of excerpts from Thimes’s privilege log corresponding to

 15 the entries in the Table below in Paragraph 4.

 16        3.     After emails traded back and forth between counsel, on 9/6/2022 the
 17 parties held a telephonic meet and confer about Thimes’s deficient discovery

 18 responses. Randolph Gaw and Victor Meng participated on behalf of Thimes, and I

 19 was on the call representing TP-Link. When I questioned Gaw concerning his
 20 knowledge about the

 21

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 24
      REDACTED                                             However, Thimes’s privilege log
 25 show that Thimes’s counsel’s representations were disingenuous.

 26        4.     During the 9/6/2022 meet and confer, Gaw stated that he prepared the 195-
 27 page privilege log. It appears from Thimes’s privilege log that Avraham Eisenberg

 28 (Thimes’s sole proprietor) was in discussions with his arbitration counsel as early as

                                                 1                          No. 2:19-cv-10374-SB-E
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  1 late April 2019 (before this case was filed), and the arbitration likely commenced at the

  2 latest in September 2019, with a final award in November 2020. There are

  3 approximately 214 emails in which Berkowitz was the recipient, sender, or copied. The

  4 privilege log also shows that Berkowitz was in communication with Thimes’s litigation

  5 counsel Randolph Gaw, Mark Poe, and Victor Meng (which included Eisenberg) as

  6 indicated in the Table below. Thimes’s privilege log also shows that Eisenberg sent a

  7 copy of the arbitration “final award” to Thimes’s litigation counsel Randolph Gaw,

  8 Mark Schlachet, Mark Poe, and Victor Meng on 11/19/2020.

  9      Dates        Privilege Log Description         From/To            Bates Nos.
 10   4/25/2019 -    “Discussion of litigation      Emails between       THIMES201144
      4/29/2019      strategy, case developments, Eisenberg and          THIMES201146
 11                  and/or factual issues relating Berkowitz            THIMES201148
 12                  to litigation.”                                     THIMES201150
                                                                         THIMES201157
 13                                                                      THIMES201160
 14                                                                      THIMES201165
                                                                         THIMES201168
 15                                                                      THIMES201169
 16                                                                      THIMES201171
                                                                         THIMES201172
 17                                                                      THIMES201173
 18                                                                      THIMES201175
                                                                         THIMES206196
 19
 20   10/4/2019      “Discussion of litigation Email from                THIMES203341-
                     strategy, case developments, Berkowitz to           THIMES203342
 21                  and/or factual issues relating Eisenberg
 22                  to      litigation,”      with
                     attachment        “2019.10.04
 23                  Amazon’s Answer and
 24                  Counterclaims.pdf.”
 25
      1/10/2020      “Discussion of litigation Email from                THIMES203868-
 26                  strategy, case developments, Eisenberg to           THIMES203870
                     and/or factual issues relating Berkowitz
 27
                     to      litigation,”      with
 28                  attachment           “Thimes
                                                2                         No. 2:19-cv-10374-SB-E
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  1                Solutions v. Amazon –
  2                Amazon’s          Discovery
                   Requests draft.docx.”
  3

  4   1/14/2020    “Discussion of litigation Email from            THIMES203921-
                   strategy, case developments, Berkowitz to       THIMES203923
  5                and/or factual issues relating Eisenberg
  6                to      litigation,”      with
                   attachment        “Claimant’s
  7                Objections and Responses to
  8                Amazon’s             Discovery
                   Requests.docx.”
  9

 10   5/4/2020     “Discussion of litigation Email from            THIMES206250-
                   strategy, case developments, Berkowitz to       THIMES206253
 11                and/or factual issues relating Eisenberg
 12                to      litigation,”      with
                   attachment “AAA Thimes v.
 13                Amazon Scheduling Order
 14                No. 3 5-1-20.docx”
 15
      6/17/2020    “Discussion of litigation      Email from       THIMES207158-
 16                strategy, case developments, Berkowitz to       THIMES207159
                   and/or factual issues relating Eisenberg
 17
                   to litigation,” with
 18                attachment “6-9-20
                   Rough2.txt.”
 19
 20   6/22/2020    “Discussion of litigation Email from            THIMES207725-
                   strategy, case developments, Berkowitz to       THIMES207727
 21
                   and/or factual issues relating Eisenberg
 22                to litigation,” with an
                   attachment         “Eisenberg
 23
                   Avraham 06.09.20.pdf”
 24
      7/13/2020    “Discussion of litigation Email from            THIMES208982-
 25
                   strategy, case developments, Berkowitz to       THIMES208983
 26                and/or factual issues relating Eisenberg
                   to litigation,” with an
 27
                   attachment “Outline for
 28                Eisenberg Direct.docx.”
                                            3                      No. 2:19-cv-10374-SB-E
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  2   7/21/2020      “Discussion of litigation        Email from Gaw      THIMES209082
                     strategy, case developments,     to Eisenberg and
  3                  and/or factual issues relating   Berkowitz, cc’ing
  4                  to litigation.”                  Poe and Meng
      7/21/2020      “Discussion of litigation        Email from          THIMES209081
  5                  strategy, case developments,     Eisenberg to Gaw
  6                  and/or factual issues relating   and Berkowitz
                     to litigation.”
  7

  8   9/25/2020      “Discussion of litigation Email from                 THIMES209570-
                     strategy, case developments, Berkowitz to            THIMES209571
  9                  and/or factual issues relating Eisenberg
 10                  to      litigation,”      with
                     attachment        “2019‐08‐15
 11                  Thimes Solutions First
 12                  Amended            Arbitration
                     Demand.pdf.”
 13

 14   11/19/2020     “Discussion of litigation        Email from        THIMES209864-
                     strategy, case developments,     Eisenberg to Gaw, THIMES209870
 15
                     and/or factual issues relating   copying Mark
 16                  to litigation,” with an          Schlachet, Poe
                     attachment              “final   and Meng
 17
                     award.pdf.”
 18

 19        5.      Thimes produced over 50 court filings in this case.
 20        6.      Attached hereto as Exhibit B is a true and correct copy of Amazon’s
 21 Responses and Objections to TP-Link’s Subpoena, served by Amazon on June 21,

 22 2022, in which Amazon objected based on the “Failure to Reduce Burden on

 23 Nonparty,” see pages 3-4.

 24        7.      Attached hereto as Exhibit C is a true and correct copy of Bates No.
 25 THIMES00739-THIMES00740.

 26
 27

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                                                4                         No. 2:19-cv-10374-SB-E
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  1

  2        I declare under penalty of perjury that the foregoing is true and correct. Executed
  3 September 27, 2022 in Mill Valley, California.

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                                              By: /s/ Heather F. Auyang
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                                                5                          No. 2:19-cv-10374-SB-E
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